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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:21-cv-1202

WILLIAM AKINS

Plaintiff,

v.

UNITED STATES OF AMERICA

Defendant.


      COMPLAINT FOR DAMAGES UNDER THE FEDERAL TORT CLAIMS ACT


        Plaintiff, William Akins, by and through his counsel, Jason Walker of Bachus & Schanker,

LLC, for his Complaint for Damages Under the Federal Tort Claims Act against Defendant United

States of America, hereby states and alleges as follows:

                                  JURISDICTION AND VENUE

        1.     The claims herein are brought against the United States of America pursuant to the

Federal Tort Claims Act (28 U.S.C. § 2671, et seq.) and 28 U.S.C. § 1346(b)(1), for negligence in

connection with the United States Postal Service’s operation of a motor vehicle.

        2.     The claims herein are brought against the United States of America pursuant to the

Federal Tort Claims Act (28 U.S.C. § 2671, et seq.) and 28 U.S.C. § 1346(b)(1), for money damages

as compensation for loss of property and personal injuries that were caused by the negligent and

wrongful acts and omissions of employees of the United States Government while acting within the

scope of their offices and employment.

        3.     Plaintiff William Akins has fully complied with the provisions of 28 U.S.C. § 2675

of the Federal Tort Claims Act.
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        4.      This suit has been timely filed, in that Plaintiff William Akins timely served notice

of his claim on both the Office of the Staff Judge Advocate and the United States of America less

than two years after the collision forming the basis of this suit.

        5.      Plaintiff William Akins is now filing this Complaint pursuant to 28 U.S.C. §

2401(b) and 28 U.S.C. § 2675(a) after receiving no final denial of administrative claim after six

months of presenting the claim.

                                  JURISDICTION AND VENUE

        6.      Plaintiff William Akins incorporates all previous allegations above as though fully

set forth herein.

        7.      Plaintiff William Akins, at all times relevant hereto, was a resident of Colorado

county of Adams at the time of the collision and he currently resides in Tennessee.

        8.      Defendant United States of America, through its agency, the United States Postal

Service, caused an auto collision on or about August 28, 2018, whereby its agent or employee was

acting within the scope of his office or employment under circumstances where the United States

of America, if a private person, would be liable to Plaintiff William Akins in accordance with the

laws of the State of Colorado, See 28 U.S.C. § 1346(b); and 28 U.S.C. § 2674.

        9.      Jurisdiction is proper under 28 U.S.C. § 1346(b)(1).

        10.     Venue lies in the United States District Court for the District of Colorado pursuant

to 28 U.S.C. § 1402(b), in that all, or a substantial part of the occurrence and injuries giving rise

to this action occurred in the District of Colorado.

                                              ALLEGATIONS

        11.     Plaintiff William Akins incorporates all previous allegations above as though fully

set forth herein.
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        12.      On August 28, 2018, Plaintiff sustained injuries when he was involved in a motor

vehicle collision at or about the in a parking lot at 150 S. Union Boulevard in Jefferson County,

Colorado (hereinafter “Collision”).

        13.      At or about the aforementioned date and time, Plaintiff was stopped in his parking

spot when a United States Postal Service vehicle began to back up and without warning hit the

rear of his vehicle.

        14.      At or about the aforementioned date and time, Defendant United States of America,

through its agency the United States Postal Service and employee, was the operator of a United

States Vehicle.

        15.      At or about the aforementioned date and time, Plaintiff was properly stopped in a

parking space.

        16.      At or about the aforementioned date and time, Defendant United States of America,

through its agency the United States Postal Service and employee, was travelling behind plaintiff.

        17.      At or about the aforementioned date and time, Defendant United States of America,

through its agency the United States Postal Service and employee, had a duty to maintain a proper

lookout and distance while travelling in traffic and parking lots.

        18.      Defendant United States of America, through its agency the United States Postal

Service and employee, failed to keep a proper lookout thereby continuing to drive into the rear of

Plaintiff William Akins’ vehicle.

        19.      Plaintiff William Akins could not move or avoid collision.

        20.      At or about the aforementioned date and time, Defendant United States of America,

through its agency the United States Postal Service and employee, failed to operate the above

referenced vehicle in a reasonably prudent manner, failed to keep a proper lookout, and failed to

stop for traffic, thereby causing a collision with Plaintiff.
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         21.    When Defendant United States of America, through its agency the United States

Postal Service and employee, struck Plaintiff, it was operating the vehicle in a negligent, careless,

and imprudent manner, failing to take the safety of others into account.

         22.    Defendant United States of America, through its agency the United States Postal

Service and employee’s negligent and careless actions, were a direct and proximate cause of

Plaintiff’s injuries, damages, and losses sustained on or about the aforementioned time, date, and

place.

         23.    Plaintiff was not comparatively negligent in causing the above-described collision

that occurred on or about August 28, 2018.

         24.    As a direct and proximate result of the incident giving rise to this suit, Plaintiff has

suffered injuries, damages and losses.

         25.    As a direct and proximate result of Defendant United States of America, through

its agency the United States Postal Service and employee’s negligence, Plaintiff has incurred past

and future economic expenses, damages, and losses, including, but not limited to, past and future

medical expenses.

         26.    As a direct and proximate result of Defendant United States of America, through

its agency the United States Postal Service and employee’s negligence, Plaintiff suffered in the

past, and will continue to suffer in the future, non-economic damages including, but not limited

to, pain and suffering, loss of enjoyment of life, inconvenience, emotional distress, and impairment

of quality of life.

         27.    As a direct and proximate result of Defendant United States of America, through

its agency the United States Postal Service and employee’s negligence, Plaintiff has suffered

physical impairment.
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                                      FIRST CLAIM FOR RELIEF
                              (Negligence Against United States of America)

        28.        Plaintiff William Akins incorporates all previous allegations above as though fully

set forth herein.

        29.        Defendant United States of America owed Plaintiff William Akins a duty to use

reasonable care in the operation of the above referenced vehicle.

        30.        Defendant United States of America breached the above referenced duty, without

limitation, in the following ways:

        a.         Failing to keep a proper lookout;
        b.         Failing to stop for traffic;
        c.         Operating a vehicle in a careless manner;
        d.         Operating a vehicle in a reckless manner; and
        e.         Operating a vehicle in a negligent manner.

        31.        The above listed breaches of duty are a direct and proximate cause of the injuries

sustained by Plaintiff William Akins.

        32.        As a result of Defendant United States of America’s breaches of the aforementioned

duties, Plaintiff has sustained past and future economic expenses, losses, and damages including,

but not limited to, medical expenses, mileage, loss of time, and other economic damages related

to injuries sustained in the collision as described above.

        33.        As a result of Defendant United States of America’s breaches of the aforementioned

duties, Plaintiff has sustained past and future non-economic damages including, but not limited to,

pain and suffering, loss of enjoyment of life, inconvenience, emotional stress and impairment of

quality of life.

        34.        As a result of Defendant United States of America’s breaches of the aforementioned

duties, Plaintiff has suffered physical impairment.
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                                 SECOND CLAIM FOR RELIEF
                     (Vicarious Liability, Respondeat Superior, and/or Agency)

         35.    Plaintiff William Akins incorporates all previous allegations above as though fully

set forth herein.

         36.    At all times relevant to this matter, the driver of the subject vehicle was an employee

and/or agent acting in the course and scope of his duties for Defendant United States of America.

         37.    At all times relevant to this matter, the driver of the subject vehicle was operating

the postal van within the course and scope of his employment, as an agent, and/or with the authority

of Defendant United States of America.

         38.    At all times relevant to this matter, the acts and/or omissions of the subject

employee, including but not limited to the acts and/or omissions detailed in this Complaint,

including claims of negligence, are by law deemed the acts and/or omissions of Defendant United

States of America.

        WHEREFORE, Plaintiff William Akins demands judgment against Defendant United

States of America in the amount of $120,000.00, interest as permitted by law, and for such other

and further relief as the Court may deem just and proper.

                                               Dated this April 30, 2021.

                                               Respectfully submitted,

                                               /s/ Jason L. Walker
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